Case 7:22-cv-02355-NSR Document 30 Filed 10/28/22 Page 1 of 8

 

 

 

“UNITED STATES DISTRICT COURT
POCT 20 PMS@0QTHERN DISTRICT OF NEW YORK

DIQUNY Kook

pot Aas

  
  

 

7:2ey 02255 -M5R

 

 

Write the full name of each plaintiff. (Include case number if one has been
assigned)
AMENDED
~against- COMPLAINT

SCT SEPM AM sen

 

Do you want a jury trial?
jd Yes [1 No

 

 

 

Write the full name of each defendant. If you cannot fit the
names of all of the defendants in the space provided, please
write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The
names listed above must be identical to those contained in
Section IV.

 

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefor? i. 2 contain: 4 individuel’s full sucial security numoer or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

Rev. 5/20/16
Case 7:22-cv-02355-NSR Document 30 Filed 10/28/22 Page 2 of 8

I. LEGAL BASIS FOR CLAIM

State below the federal legal basis for your claim, if known. This form is designed primarily for
prisoners challenging the constitutionality of their conditions of confinement; those claims are
often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or ina
“Bivens” action (against federal defendants).

[EY Violation of my federal constitutional rights

L] Other:

 

Il. PLAINTIFF INFORMATION
Each plaintiff must provide the following information. Attach additional pages if necessary.

DTW i if (od KAR

First Name dale Initial “Last Name

vik

State any other names (or different forms of your name) you have ever used, including any name
you have used in previously filing a lawsuit.

( oh\ A \

 

 

Prisoner ID # (if you have previously been in another agency’s custody, please specify each agency
and the ID number (such as your DIN or NYSID) under which you were held)

(sr e€ne Co trectional

Current Place of Detention

eo box 47S

Institutional Address

Cool SAC JY aos OF 75

County, State Zip Code
lI. PRISONER STATUS

Indicate below whether you are a prisoner or other confined person:

[| Pretrial detainee
L] Civilly committed detainee
CL] Immigration detainee

oy’ Convicted and sentenced prisoner
[] Other:

 

Page 2
Case 7:22-cv-02355-NSR Document 30 Filed 10/28/22 Page 3 of 8

IV. DEFENDANT INFORMATION

To the best of your ability, provide the following information for each defendant. If the correct
information is not provided, it could delay or prevent service of the complaint on the defendant.
Make sure that the defendants listed below are identical to those listed in the caption. Attach
additional pages as necessary.

Defendant 1:

Defendant 2:

Defendant 3:

Defendant 4:

SbT sep" Ww
"SEP. Last Name
Current Job Title (or other identifying information)
. iN
A \eson od
Current Work Address

98 son Rh ob boing NM 4

   

he \ in| giv if home.

Shield # é

| 0 [8

 

 

 

 

 

 

 

 

 

 

 

 

 

County, City State Zip Code
First Name Last Name Shield #
Current Job Title (or other identifying information)

Current Work Address

County, City State Zip Code
First Name Last Name Shield #
Current Job Title (or other identifying information)

Current Work Aderess

County, City State Zip Code
First Name Last Name Shield #
Current Job Title (or other identifying information)

Current Work Address

County, City State Zip Code

Page 3
Case 7:22-cv-02355-NSR Document 30 Filed 10/28/22 Page 4 of 8

V. STATEMENT OF CLAIM

Place(s) of occurrence: L060 buMée COFr te Lonal ba cibtey

Sled ON S/a3/2.
Date(s) of occurrence: My Court Pn Pos Go Oe tol ut ¢ VEU WG
FACTS: 1S ON ecoth +his ‘Sonmended Com ffar a7

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and how each defendant was personally involved in the alleged wrongful actions. Attach
ee pages as necessary. 1p

TLiievin booker 1s suenq Sotselew
Fos! kody 10.00P? dn |ues beguusé it hlwas Nok 6Ol
nec (wey) I Or Ao! (AU idlat thé quid! LVS A
Dat 0 Dea 10 Heath jJouas sefl Jo
Say Seki Jd | On OC Meigticy doe off
Gor WAKO aah Sok selnan sds “laltung lo Me about
We suaioa 7 hats ha gen atthe last oul PB hec
nnd 1 eer i Dovteolte Costady Se Saud (201
yo\d her thie Fhe hic catertoval cer Fade
Os load Oc 1g Member a (one Cho ger And dot
1 wy Ope to so sa}. Old “the ployds dOpd
1S acer “(Me iNeed Protech Ue custody SAL
Sail ios. A Sab fdyecliye costady aLé yelled
Ox M210 has te. Che Seine Mo. 10 Pofd dion
ah iCoyer rt 1g mina Phe uJ joul¢ af | st ea
dD Me (Ld 0)\ (| oA (eler aod dred Cran covid
had d headach ¢ 22u, Harem c srt as and
i \plddS- Aang Nedhels Alfeet culled Mea
{us ya CDA A het \ay\ t+ iA (K ‘tad ent And {is wwe,
XOX” foe “Convdidyco5 Gallon (ca asrth Sou whern dligeac|
CHI TR cy ~ 09955 1 WOM sik 5etman FO Lay Bos 35008
Aor Sof phe Lavery} murders On my iif.
Wy % pri t Ds neler ne? eS ret
Loken, She Coil Jo froseed Me.

 

  

 

 

 

 

 

 

 
5 p FASE, 7:23-0v78235
£ shill feel sick o1j9n985 oN Dooungnyera FiletJQ/28/22 Page 5 of 8

peovlad of “hel because Sqft seran Far |

0 pur (Ve If) (ornones custody / Cad o f- Sed

Pry being heat td de 4th From” “ih ire wb ers

and sq}" se 4a knew 1wa- (00. SULfO SC

tb be iN fh polation Uh

y& Ye Whe Chager sifu atu at the ashley

Yaak she Knead about 74ars ath | rae
OMLG eng 1 rush 9 bet Ja IS she Lng | IE ve ped
Vode hue custo ju she knew these pleods G44

ye woes wie Jong . ry to mute Me je Ff ee

ak and Orie, at the 14% Jar

Cla 0 Wali au 10 fhe bloods

(: »\ i x at teCronal Ot cer
4 a | | aver u II hapfem

Kg, MC Ur ne kne
’ ete | 5 that the sot id corres ane |
) ee ,
pares oa | WiK@ tars a4 d ye wt
ye Someone poche | yee ney bring

YOM Wan
IN }¥! hones (Prone Chowg e5 dofe Knives
Le) ni eet he Sé Caity Danders otthe P/oogs gang

C050 yu ateemer LUO S LIO slo

x mya happen it She fut Me i)
Pvoleeheys custody I ike 5k
yah | lirst 9 ot +o oo ut | What
0. b SE Wd

RK Oy \ i \ hy 2 Pe
ye wen mil cose” Necded
10

wth toll ratlon eee any| ling
i Anes 2 SOs ahd Qs Trey o)\\ Qy ! Cr) \, C V

XA eo SCOVR Ta gow Wool Cig to SE4 Ne
\ yd) U} Ss, y 00 2p Of Ay 4

 

 
 

    
  
Case 7:22-cv-02355-NSR Document 30 Filed 10/28/22 Page 6 of 8

 

 

 

 

 

 

 

 

INJURIES:
If you were injured as a result of these actions, describe ei injuries and what medical treatment,

if any, you required and received. Ouaten) ne IS das very SICK
CD bid O hKEUS Wada ches Aiea © hacanh
ne Nise, do zy almasf hei beat:
Cae death he LJaS hex CqUSe 0+
\ "COL Stay WAS spe Sail dafy

{hike ele Ax Me_ aad jee me Polechan
a iad ON Cause ME Py YC

VI. RELIEF

 
  

 

State .M what 1 damages or other relief you want AG urt to order.

TAM ASK Sor 80d tank for Lhe
Ibe ate OF Murders OY My ike +hak

Soy Sekiit los Mae Cause pl -qiMost
Wed Koby We COW IA Views Aad dlmos/

\n2.iNd Dkk "ip Death by inmates Medical
Keene anh aal ‘Gord ON (2Card jp the
EAM Aysdvack Cou alread y_-cam
SKS, Wo ‘oe Atal AA Bucs ane for

We hoo owOMOS Murders a” py WEE
PY SLAMAN S306 A+ Cay lt CPLAVS+ pages
Case 7:22-cv-02355-NSR Document 30 Filed 10/28/22 Page 7 of 8

VII. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by anonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Federal Rule of Civil Procedure 11.

I understand that if I file three or more cases while I am a prisoner that are dismissed as
frivolous, malicious, or for failure to state a claim, I may be denied in forma pauperis status in
future cases.

also understand that prisoners must exhaust administrative procedures before filing an action
in federal court about prison conditions, 42 U.S.C. § 1997e(a), and that my case may be
dismissed if I have not exhausted administrative remedies as required.

I agree to provide the Clerk's Office with any changes to my address. I understand that my
failure to keep a current address on file with the Clerk's Office may result in the dismissal of my
case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without ete ent of fees, each plaintiff must also submit an IFP application.

ackDbert ad lash o yew bln

 

Dated . Plai tiffs Signature
WEOUAN \ALaue once
First Name I/ Middle Initial Last Name

bo ox 475

Prison Address

(a Xsachye NeW os l-oqy-

County, City State Zip Code

—» |.
Date on which | am delivering this complaint to prison authorities for mailing: / () A 3/2 a

Page 6
 

 

 

 

Beat

2} age

   
    

 

 

1h?) aj ‘Nid PTR OC SWN
G/60-LG0ZL WHOA MN ‘SIMOVSXOO
G16 XOE Od

ALIMUSV2 qWNOILLOZNYOD ANSI

e

Case 7:22-cv-02355-NSR Document 30 Filed 10/28/22 Page 8 of 8

 
